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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
 ---------------------------------- X
 GIANNA WHEELER,                      :
                                      :
                      Plaintiff,      :   Civil Action No. 1:20-cv-2735-CRC
                                      :
      v.                              :
                                      :
 AMERICAN UNIVERSITY et al.,          :
                                      :
                      Defendants.     :
                                      :
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                                NINTH JOINT STATUS REPORT

        Plaintiff Gianna Wheeler and Defendants American University, Jeffrey Brown, Kevin

Barrett, Michael Vena, Joseph Joyner, and Matthew Gomez (“the AU Defendants”), along with

Defendants Stephen Kinzer, Deborah Smith, and Richard Davis, III (“the MPD Defendants”)

(collectively, “the parties”), submit this ninth Joint Status Report pursuant to this Court’s

September 6, 2022 Minute Order.

        The parties have been engaged in mediation since May and have worked diligently towards

a resolution.

        Plaintiff and the MPD Defendants have a fully executed agreement. Pursuant to that

agreement, Plaintiff filed a Joint Stipulation of Dismissal as to the District of Columbia Defendants

earlier today. (Dkt. No. 86).

        Plaintiff and the AU Defendants have reached an agreement in principal that is pending

formal execution.

        Given their ongoing efforts, the Plaintiff and the AU Defendants respectfully request that

the Court continue to stay all discovery until further notice. The parties further request until October

17, 2022 to either file a Notice of Dismissal or to provide an additional Joint Status Report.
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Dated: September 14, 2022                           Respectfully submitted,


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